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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

******************** *
JANET FLORENCE,                      *      No. 15-255V
                                     *      Special Master Christian J. Moran
                  Petitioner,        *
                                     *
v.                                   *
                                     *      Filed: May 28, 2015
SECRETARY OF HEALTH                  *
AND HUMAN SERVICES,                  *      Stipulation; influenza (“flu”) vaccine;
                                     *      lymphedema.
                  Respondent.        *
                                     *
******************** *
Lawrence R. Cohan, Anapol, Schwartz, et al., Philadelphia, PA, for Petitioner;
Heather L. Pearlman, United States Dep’t of Justice, Washington, DC, for
Respondent.

                       UNPUBLISHED RULING FINDING
                      ENTITLEMENT TO COMPENSATION1

       On March 12, 2015, Janet Florence, filed a petition for compensation
alleging that the influenza (“flu”) vaccine she received on December 2, 2012,
caused her to suffer lymphedema. Ms. Florence seeks compensation pursuant to
the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa –10
through 34 (2012).

      In her Rule 4 (c) report, respondent stated that Ms. Florence’s claim is
compensable under the Act. Respondent stated that a review of the record by the
Division of Vaccine Injury Compensation, Department of Health and Human
Services, has led to the determination that “petitioner’s left arm lymphedema is

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         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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causally related to the administration of her December 2, 2012 flu vaccination, and
that petitioner met the statutory requirements by suffering the condition for more
than six months.” Resp’t’s Rep., filed May 19, 2015, at 3.

      Special masters may determine whether a petitioner is entitled to
compensation based upon the record. A hearing is not required. 42 U.S.C. §
300aa-13; Vaccine Rule 8(d). Based upon a review of the record as a whole, the
undersigned finds that petitioner has established that she is entitled to
compensation for her injury.

       Accordingly, Ms. Florence is entitled to compensation. A status
conference is set, sua sponte, for Monday, June 15, 2015 at 11:00 A.M. Eastern
Time to discuss the process for quantifying the amount of damages to which she is
entitled.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                   s/Christian J. Moran
                                                   Christian J. Moran
                                                   Special Master




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            All preexisting deadlines are CANCELLED.

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